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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


 BASF PLANT SCIENCE, LP,                       )
                                               )
              Plaintiff,                       )
                                               )
       v.                                      ) C.A. No. 17-421-VAC-CJB
                                               )
 NUSEED AMERICAS INC.,                         )
                                               )
              Defendant.                       )




                    DECLARATION OF ANDREW BRUCE THOMAS
                       ON BEHALF OF NUSEED AMERICAS

       1.      My name is Andrew Bruce Thomas. I am Global General Manager: Portfolio

and Strategy, Nuseed Americas Inc. (“Nuseed Americas” or the “Company”), headquartered

at 11901 South Austin Avenue, Alsip, IL 60803 USA.

       2.      I make this declaration to describe the facts and circumstances concerning the

ongoing confidential negotiations with BASF Plant Science LP (“BASF”), regarding genetically

modified crop production of omega-3 oil. I am authorized to make these statements on behalf of

Nuseed Americas based on corporate knowledge. I would be prepared to testify under oath to

the same.

       3.      The Company has read the Complaint filed on April 13, 2017 by BASF that

names Nuseed Americas as the sole Defendant and seeks a declaratory judgment of invalidity of

U.S. Patents No. 7,807,849; No. 7,834,250; No. 8,106,226; No. 8,288,572; No. 8,575,377;

No. 8,809,559; No. 9,853,432; and No. 9,458,410 (collectively, “the patents-in-suit”).

       4.      Seven of the patents-in-suit (the ’849, ’250, ’226, ’572, ’377, ’432, and ’410

patents) are owned by the Commonwealth Scientific and Industrial Research Organisation
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(“CSIRO”), and one (the ’559 patent) is co-owned by CSIRO and the Grains Research and

Development Corporation (“GRDC”). CSIRO and GRDC are Australian entities.

       5.      Nuseed Americas does not have any right, title or interest in any of the patents-in-

suit. Nuseed Americas is a commercial partner of CSIRO with respect to genetically modified

crop production of omega-3 oil.

       6.      Nufarm Limited, an Australian entity, owns Nuseed Americas. In addition,

Nufarm Limited owns Nuseed Proprietary Limited (“Nuseed Pty. Ltd.”), also an Australian

entity, which is the exclusive licensee of the patents-in-suit, but only in the field of plant based

production of long chain omega-3 oil in genetically modified canola seed.

       7.      Robert de Feyter, Ph.D., Intellectual Property Manager at CSIRO, informed

Nuseed Americas that BASF and CSIRO have been in business discussions regarding genetically

modified crop production of omega-3 oil. These communications commenced by at least

August 28, 2013 and continued on or about May 9, 2016 (between Dr. Andreas Popp, BASF

Vice President for Global Intellectual Property, and Dr. de Feyter), and again on July 13, 2016

(between Dr. Popp and Marcus Ebneth for BASF and Dr. de Feyter for CSIRO). Dr. de Feyter

provided William Robison, corporate counsel for Nuseed Americas, with Dr. Popp’s BASF

contact information following the July 13, 2016 teleconference.

       8.      Mr. Robison emailed Dr. Popp at BASF on July 22, 2016 and August 12, 2016,

regarding the BASF/CSIRO discussions about genetically modified crop production of omega-3

oil in view of Nuseed Americas’ role as CSIRO’s commercial partner in the field of technology.

On August 26, 2016, Dr. Popp responded to Mr. Robison’s email, seeking a confidentiality

agreement between BASF and Nuseed Americas before discussing genetically modified crop




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production of omega-3 oil. A confidentiality agreement was fully executed by BASF and Nuseed

Americas on September 30, 2016.

       9.      On October 4, 2016, Dr. Popp and Mr. Robison spoke by telephone.

Subsequently, Mr. Robison made arrangements with BASF’s Dr. Andry Andriankaja, a project

manager at BASF Research Triangle Park, NC, for an in-person meeting between representatives

of BASF and Nuseed Americas to discuss genetically modified crop production of omega-3 oil.

This meeting took place on October 19, 2016, in Chapel Hill, NC, with the following

participants: for Nuseed Americas – myself, Brent Zacharias, Group Executive: Nuseed,

Mr. Robison, and Mary Sylvia of Wiley Rein, LLP (Nuseed Americas’ outside counsel); and for

BASF – Dr. Popp, Dr. Andriankaja, Charles Morris, Partner Manager at BASF Research

Triangle Park, and John Pendergast, Assistant General Counsel of BASF.

       10.     Over the next four months, between October 20, 2016 and April 13, 2017, the

BASF and Nuseed Americas representatives who met in Chapel Hill, NC, on October 19, 2016,

variously met with in person or corresponded by telephone or email on at least thirteen additional

occasions to continue discussing genetically modified crop production of omega-3 oil. This

interaction included a two-day meeting on February 12-13, 2017. Our exchanges included the

consideration generally of the business objectives of BASF and Nuseed Americas as well as the

intellectual property of BASF and CSIRO/GRDC in the United States and other countries related

to genetically modified crop production of omega-3 oil.

       11.     On April 13, 2017, the representatives of BASF (Dr. Andriankaja, Dr. Popp,

Mr. Morris and Mr. Pendergast) and Nuseed Americas (Mr. Zacharias, Mr. Robison and

Ms. Sylvia) participated in a telephone meeting discussing genetically modified crop production




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of omega-3 oil. During this teleconference, some proposed terms for a business opportunity

were discussed.

       12.     Nuseed Americas was surprised to learn that BASF sued the Company later that

day (April 13, 2017). In particular, the eight patents-in-suit had not been the specific focus of any

of the ongoing discussions regarding genetically modified crop production of omega-3 oil.

       13.     Not at the April 13, 2017 meeting, nor at any time before or since, did Nuseed

Americas threaten BASF with patent litigation. Nor did the discussions on April 13, 2017, create

an impasse to further negotiation, contrary to the allegation in BASF’s Complaint. Indeed, the

very next day, April 14, 2017, BASF (Dr. Andriankaja) contacted Nuseed Americas

(Mr. Zacharias), and they discussed continuing communication between BASF and the Company

as a path forward.

       14.     Between April 17, 2017 and July 10, 2017, representatives of BASF and Nuseed

Americas variously met with in person or corresponded by telephone or email on at least twenty

additional occasions to continue discussing genetically modified crop production of omega-3 oil.

In addition to the BASF and Nuseed Americas representatives who met in Chapel Hill, NC, on

October 19, 2016, several other individuals variously joined these ongoing business discussions,

including Peter Eckes, Ph.D., President of Bioscience Research at BASF; Burkhard Kröger,

Ph.D., Senior Vice President Global Plant Science at BASF; Niels Pörkson, Ph.D., Group

Executive Portfolio Solutions at Nufarm Limited; and Mr. Greg Hunt, Managing Director and

Chief Executive Officer at Nufarm Limited.

       15.     There has been no express or implied indication or condition to date by BASF or

Nuseed Americas to cease the ongoing discussions regarding potential business opportunities to

genetically modified crop production of omega-3 oil.




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       I declare under penalty of perjury under the laws of the United States of America that, to

the best of my knowledge, the foregoing is true and correct.



 Executed on this 13th day of July 2017 at Los Angeles, CA, USA.



 Andrew Bruce Thomas




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                                         CERTIFICATE OF SERVICE

                I, Samantha G. Wilson, Esquire, hereby certify that on July 14, 2017, I caused to be

         electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

         using CM/ECF, which will send notification that such filing is available for viewing and

         downloading to registered participants.

                I further certify that on July 14, 2017, I caused the foregoing document to be served by e-

         mail upon the following counsel:

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         Dated: July 14, 2017
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